Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 1 of 15




                       Exhibit 1
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 2 of 15




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by                                *     MDL NO. 2179
   the Oil Rig "Deepwater Horizon"                 *
   in the Gulf of Mexico, on April 20, 2010        *     SECTION J
                                                   *
T his document relates to:                         *
All Cases and No. 12-970                           *     Honorable CARL J. BARBIER
                                                   *
                                                   *     Magistrate Judge SHUSHAN
                                                   *
                                                   *
                REBUTTAL DECLARATION OF RICHARD C. GODFREY

       I, Richard C. Godfrey, do hereby declare that the following statements made by me under

oath are true and accurate to the best of my knowledge, information and belief:

                                          Introduction

       I.      My background and qualifications are set out in my initial remand declaration of

November 7, 20 13. (Rec. Doc. 11818-2.) As before, I make this Rebuttal DecJaration based

upon my own personal knowledge.

       2.      In accordance with the Court's October 25, 2013 Scheduling Order regarding the

BEL Remand (Rec. Doc. 11735), I submit this Rebuttal Declaration to respond to certain (but not

all) statements made in the declarations submitted by Class Counsel ("Class Counsel" or "PSC")

on November 6, 2013.

       Class Counsel's Submission Confirms the Need for "Matching" on All Claims

       3.      I am not aware of any document exchanged during the course of the Settlement

Agreement negotiations suggesting or stating that Exhibit 4C required matching only for some

but not all claims. Nor am I aware of any discussion during the course of the negotiations that

suggested or stated that Exhibit 4C required matching only for some but not all claims. Neither I
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 3 of 15




nor anyone else representing BP as far as I am aware ever did or said anything suggesting that

BP agreed that implementation of Exhibit 4C would be dete1mined based upon either a

measurement of differential cash flows or, alternatively, how each claimant idiosyncratically

recorded its financial information.

       4.      Mr. Rice asserts that "standard definitions were not adopted into this settlement."

(Declaration of Joseph F. Rice~ 44, Rec. Doc. 11804-4.) I do not believe this to be correct, as I

never heard any suggestion during negotiations that the terms "revenue," "inculTed," and

"expenses" were intended to have a meaning other than their ordinary meanings in the context of

a lost-profits analysis. Thus:

       •    At no time prior to the signing of the Settlement did Mr. Rice or anyone else from the
            PSC say to me or anyone else at BP to my knowledge that the word "revenue" in
            Exhibit 4C was used to mean cash receipts.

       •    At no time prior to the signing of the Settlement did Mr. Rice or anyone else from the
            PSC say to me or anyone else at BP to my knowledge that the word "expense" in
            Exhibit 4C was used to mean cash expenditures.

       •    At no time prior to the signing of the Settlement did Mr. Rice or anyone else from the
            PSC say to me or anyone else at BP to my knowledge that the word "earn" in Exhibit
            4C was used to mean receipt of cash.

       •    At no time prior to the signing of the Settlement did Mr. Rice or anyone else from the
            PSC say to me or anyone else at BP to my knowledge that the phrase "actual profit"
            in Exhibit 4C was used to mean the difference between cash receipts and cash
            expenditures.

       •    At no time prior to the signing of the Settlement did Mr. Rice or anyone else from the
            PSC say to me or anyone else at BP to my knowledge that the phrase "reduction of
            profit" in Exhibit 4C was used to mean a reduction in the difference between cash
            receipts and cash expenditures.

Had I understood that these terms did not have their ordinary meanings, but instead had the

special and unique meanings Mr. Rice now ascribes to them, BP would have objected at the

                                                2
    Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 4 of 15




time. Indeed, the Court (Judge Barbier) found that the Agreement used "standardized formulas

derived from generally accepted and common methodologies"- a finding that is inconsistent

with Mr. Rice's assertion. (December 21, 2012 Order and Reasons Granting Final Approval of

the Economic and Property Damages Settlement Agreement at 8, Rec. Doc. 8138.)

        5.       I believe Mr. Herman and Mr. Rice to be mistaken when they state that "[n]either

BP nor the PSC Negotiating Team expressed a suggestion or expectation that Program

Accountants would ... attempt to determine which particular expenses 'corresponded' with the

monthly revenues ... [or] attempt to determine what revenues had been 'earned' dming the

Benchmark or Compensation Periods." (Declaration of Stephen J. Herman~~ 12-13, Rec. Doc.

11804-1; see also Declaration of Joseph F. Rice ~, 14-15 (arguing that there "was never any

request ... that the Claims Administrator ... would attempt to determine which particular

expenses 'corresponded' with the monthly revenues ... [or] attempt to determine what revenues

had been 'earned'").) The fact is that those exact words- "corresponding" and "earn"-were

agreed to and explicitly referenced in the final version of Exhibi t 4C (pp. 1 and 2). 1 In addition

(and as far as I am aware no one from the PSC has denied it), the failme to accord those words

with their settled and well understood meanings would result in a Compensation Framework

methodology that does not compensate for lost profits. I have no recollection of any discussion

during the course of the negotiations in which it was suggested that the word "conesponding"

would be superfluous or that the word "earned" would mean cash receipts.




1
  Mr. Hennan's and Mr. Rice's assertion that implementation procedures for matching were never discussed during
the negotiation of the Settlement Agreement is a non sequitur. The parties agreed that Variable Profit would be
calculated by subtracting the "corresponding variable expenses" fi·om "revenue." This requires matching. Thus,
any suggestion that "matching" is not required for all claims because the negotiating teams did not discuss the
specific future implementation procedures or po licies for the Compensation Framework is simply wrong.

                                                       3
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 5 of 15




 Class Counsel Inaccurately Describe the Significance of the Documentation Requirements

       6.      Class Counsel's declarants assert that BP's motivation for the documentation

requirements of Exhibit 4A was "not ... a necessity or desire to 'match' expenses with revenues

... but ... the desire to prevent potential fraud." (Declaration of Stephen J. Herman ~ 17, Rec.

Doc. 11804-1; see also Declaration of Rhon E. Jones ~ 13, Rec. Doc. 11804-26.) Class Counsel

is mistaken in the breadth of their assertion concern ing Exhibit 4A. During the negotiation of

what became Exhibit 4A, representatives of BP expressed the importance of ensuring that the

Claims Administrator obtained documentation not only to combat potential fraud, but also to

accurately calculate compensation. Exhibit 4C depends upon and requires accurate and complete

financial data-not limited, erroneous, or inaccurate claimant financial data.

       7.      Mr. Rice and Mr. Herman both also suggest that the definition of

"contemporaneous" in the Settlement Agreement is relevant to the question of whether the

Claims Administrator should ensure that revenues and corresponding expenses are properly

matched. They are mistaken. My understanding, based on the negotiations and as reflected in

Exhibit 4A, was that the Claims Administrator and rus team of accountants would play a critical

role in reviewing, evaluating, and taking whatever steps were necessary to select and/or adjust

the financial data submitted by claimants for the purpose of complying with the Agreement.

       8.     To be clear, at no time during the negotiations did anyone from the PSC ever

suggest to me or to anyone else representing BP to my knowledge that Settlement Program

accountants would simply take the financiat records submitted in support of a business claim as

is or as recorded by that business-under various accounting or book keeping methods-and

plug those numbers into the Exhibit 4C calculations. During the settlement negotiations, we had

many discussions about the need to comply with Rule 23, and never once during those

                                                4
    Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 6 of 15




discussions did the PSC suggest or outline the interpretation of Exhibit 4C fo r which they argue

now. And with good reason; we could not agree to their interpretation because it would treat

similarly situated claimants differently and therefore could not comply with Rule 23.

         9.       Nor did I, or anyone else from BP to my knowledge, ever state or expect as Mr.

Herman suggests that monthly P&Ls would be the only documents that the Settlement Program

would review in evaluating a business economic loss claim. To the contrary, BP's negotiators

insisted and bargained for the entire scope of extensive documentation set forth in Exhibit 4A's

documentation requirements.

         10.      In addition, I did not participate in any negotiation session in which the parties

agreed to a term of the Settlement that "the review of monthly P&Ls by the Settlement Program

would be fairly mechanical, objective, and relatively efficient."                 (Declaration of Stephen J.

Herman ~ 15, Rec. Doc. 11804-1.)                 That standard is not incorporated in the Settlement

Agreement and at no time did I or anyone in my presence ever suggest that under the BEL

Compensation Framework a claimant's compensation would be based simply upon a review of

the submitted monthly P&Ls? While we certainly discussed and hoped for an efficient claims

submiss ion and review process, and while Exhibit 4C is in my view an objective Compensation

Framework, during the negotiations it was recognized and discussed that there were complexities

with many business claims, which is one of the reasons why "the Settlement Program would hire

as many accotmtants as necessary so that they could make the key determinations regarding

revenues and expenses .... " (Declaration of Richard C. Godfrey~ 12, Rec. Doc. 11818-2.)



2
  Likewise, despite Mr. Rice's purported desire for "flexibi lity for our class members to use the pre-existing
financial records they had," (Declaration of Joseph F. Rice ~ 20, Rec. Doc. 11804-4), Exhibit 4A requires certain
documentation- i.e., " In order to be eligible for compensation, a business claim must provide the following ..." -
and allows the Claims Administrator to request additional backup documentation. (Exhibit 4A at l.)

                                                         5
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 7 of 15




        11.    Finally, any suggestion in Class Counsels' declarations that providing claimants

with the option of selecting the periods of time over which to calculate damages somehow

indicates that matching would not be required is inconect. The selection of the period of time is

different from the determination of which revenues and expenses properly belong in that period

for purposes of calculating lost profits.     Nothing in the course of the negotiation of the

Settlement Agreement suggested to me that the selection of the time period would or should

prevent the Claims Administrator from determining the revenues and expenses that properly

belong in that time period.

      Class Counsel Do Not Accurately Characterize or Explain BP's Prior Proposals

       12.     During the negotiations over the BEL Framework, BP negotiators at one point

suggested averaging the compensation amounts determined by a Variable Profit approach and an

EBITDA approach. Class Counsel argue that this approach "would clearly have never allowed

for a matching of expenses or standard accounting practices." (Declaration of Joseph F. Rice 1

31, Rec. Doc. 11804-4.) This is inconect in my view. For either the Variable Profit or EBITDA

approaches "to measure lost profits accurately, they needed to (i) reflect revenues earned and not

cash receipts, (ii) reflect expenses and not cash expenditures, and (iii) ensure that corresponding

variable expenses incurred in generating those revenues would be subtracted from the revenues."

(Declaration of Richard C. Godfrey 1 11 , Rec. Doc. 11818-2.) Thus, BP's November 10,2011

proposal that lost profits be calculated as the average of the calculations based on Adjusted

EBITDA and Variable Profit did not eliminate the need for matching. Matching was required to

accurately calculate Variable Profit for half of the calculation and to accurately calculate

Adjusted EBITDA for the other half. In any event, BP's proposal was rejected.




                                                6
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 8 of 15




        13.    As Mr. Rice concedes, BP's proposed EBITDA approach also involved the core

concepts of "earnings" and "losses." Mr. Rice correctly states the EBITDA calculation was

designed to determine the claimant's "2010 loss." (Declaration of Joseph F. Rice , 34, Rec.

Doc. 11804-4.) He also acknowledges that BP described the EBITDA approach as an effort to

reflect "earnings." (!d. , 34) Although the EBJTDA approach was not ultimately adopted, these

same concepts of"earnings" and "loss" are reflected Exhibit 4C.

              Class Counsel Mischaracterizc the Claimant-Friendly Provisions

        14.    Mr. Herman notes that he "negotiated, drafted and finali zed the 'Claimant-

friendly' provisions that appear" in the Settlement Agreement.       (Declaration of Stephen J.

Herman, 8, Rec. Doc. 11804-1.) Those provisions require, for example, Settlement Program

accountants to consider whether an alternative combination of months for the compensation and

benchmark periods would yield a higher compensation amount for the claimant. But my view

and understanding, based on my direct involvement in negotiating and discussing those

provisions, is that they do not otherwise alter the terms of the Settlement Agreement or require

that other settlement clauses be interpreted in favor of claimants. Indeed, the claimant-friendly

provisions are limited by "the terms of the ECONOMIC DAMAGE CLAIM FRAMEWORK."

(Settlement Agreement § 4.3.8.) Any contrary suggestion in Class Counsel's submission is

inconsistent with my recollection of the negotiations.

               Class Counsel's Citation To and Reliance on Undisclosed Notes

       15.     In his declaration, Mr. Rice attempts to "quote" statements he claims were made

by me and other BP negotiators during meetings that were not recorded or transcribed as far as I

know. (See, e.g., Declaration of Joseph F. Rice,, 11 , 2 1, 25, Rec. Doc. 11804-4.) Based on Mr.

Rice's declaration, 1 understand that the "quotations" included in Mr. Rice's declaration are

                                                 7
     Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 9 of 15




quotations from his own internal notes. Obviously I do not know anything about his internal

notes or file memos that I and BP have never seen. Likewise, I cannot know whether they

accurately reflect settlement discussions or whether they accurately quote from or take out of

context things that I and others representing BP said or suggested. 3 Given that Mr. Rice is likely

quoting from his notes, however, it is significant that he does not claim to have any note that

answers the Court's specific remand question. That is, he apparently has no note showing that

"the parties to the Settlement Agreement had discussed the intended meaning of Exhibit 4C

insofar as it applies to the use of cash versus accrual basis accounting to calculate loss of variable

profits." (Rec. Doc. 11.735.)

            16.      Mr. Rice attributes a quotation to me from a Jtme 30, 2011. meeting regarding

avoiding a "calculation on every individual case." (Declaration of Joseph F. Rice ~ 21, Rec.

Doc. 11804-4.) I do not recall one way or the other whether I said that. But, at the time, the

parties were discussing the concept of using industry-specific measures of variable margins,

instead of claimant-specific variable margins, and then applying those in some fashion to

determine any actual losses and compensation. This was a concept discussed and raised early on

in our settlement discussions, but the concept was abandoned because the parties were unable to

identify published industry-specific measures of variable margins.                         In sum, the quotation in

paragraph 21 of M1·. Rice's declaration, whether accurate or not, has no relationship to Exhibit

4C and has no bearing on the parties' actual agreement or their understanding regarding

matching.




3
    Mr. Rice also cites to various memoranda that he attributes solely to me. (See, e.g. , Dec laration of Joseph F. Rice
~~ 31, 37, 38, Rec. Doc. 11804-4.) In general, the memoranda came fi·om the BP negotiating team and 1 was only
one of several senders listed on the memoranda.

                                                              8
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 10 of 15




                  Limited Involvement of Certain Class Counsel Declarants

       17.     Class Counsel submitted declarations by Mr. Herman and Mr. Scott to support

their interpretation of Exhibit 4C. Based upon BP's records and my own recollection, as set

forth in my declaration dated August 13, 20 12 (Rec. Doc. 71 14-9), Mr. Herman was not present

at many of the negotiation meetings or sessions that took place in 20 ll; in contrast, I was present

for nearly all of those meetings or negotiating sessions. ln addition, Mr. Herman was not present

at many of the meetings identified by Mr. Rice as having significance with respect to the parties'

BEL Framework discussions. Mr. Scott, an accountant, participated in an accounting working

group but was not a principal negotiator on behalf of the PSC.

       18.     Class Counsel also submitted a declaration from Mr. Rhon Jones.          While Mr.

Rhon Jones was involved in working group discussions, he was not from my perspective a

principal negotiator of the BEL Framework. To my recollection, Mr. Jones was involved only in

some narrow aspects of the BEL negotiations, including in the latter part of February 2012.

                            Discussions Regarding Class Definition

       19.     Mr. Rice makes a number of statements that relate to issues other than matching.

I respond to those statements because he has made them, but not because they are relevant to the

issue identified in the Court's October 25 Scheduling Order.

       20.     Mr. Rice makes the statement that he "use[s] the terms 'class members' and

' class' to refer generally to c laimants who are entitled to make claims and receive payment

through the Court-Supervised Settlement Program." (Declaration of Joseph F. Rice, n.3, Rec.

Doc. 11804-4.) But the class and its members are defmed terms that were negotiated, agreed to,

and subsequently approved and adopted by the Court. In particular, during the negotiations over

the Settlement Agreement in June 2011 in London, Mr. Rice suggested defining a class member


                                                 9
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 11 of 15




as any individual or entity filing a claim. On BP's behalf, I recall that I rejected this concept and

told Mr. Rice and Mr. Fayard that BP would not compensate any such claimants. Rather, J

expressed BP's view that class membership had to be limited to those individual s or entities that

experienced actual injury or loss as a result of the Deepwater Horizon incident. At another

meeting in July 2011, the parties again discussed the possible class definition. Mr. Rice and Mr.

Fayard questioned whether the class could include those "claiming" to be injm·ed by the spill or

just those who were in fact "injured by" the spill. I explained my viewpoint that this needed to

be an "incurred" injury class and not a "claims" injury class, particularly given my concerns

about compliance with Rule 23.

       21.     At a meeting on August 3, 2011 in New York, Mr. Rice renewed the concept of a

no-injury class by arguing that a "big burp" of oil may occur sometime in the future and

therefore BP might be interested in trying to include in the Settlement claimants who, while

having no actual injury now, might be injured in the future if additional oil were to surface and

impact them. I again explained and stated that BP did not want to include in the class those

people and businesses who had not experienced any economic loss due to the spill. Also, I

raised certain Rule 23 concerns about this concept.        By the end of the meeting, or shortly

thereafter, my recollection is that Mr. Rice responded by agreeing that a person or business who

had no current economic loss due to the spill now but might in the future could not be in the

possible class we were discussing because he, she or it had no injury. Ultimately, after lengthy

and somewhat prolonged negotiations over several months, we agreed on a class definition that

requires individuals and entities seeking to file BEL claims to have a "[l]oss of income, earnings

or profits suffered by Natural Persons or Entities as a result of the DEEPWATER HORIZON

INCIDENT, subject to certain Exclusions." (Settlement Agreement § 1.3.1.2.)

                                                 10
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 12 of 15




        22.    Likewise, Mr. Rice's discussion regarding " core" and " non-core" claims is in my

view beside the point given the directed subject of this remand. (See Declaration of Joseph F.

Rice ~ 22, Rec. Doc. 11804-4.) Regardless, these core/non-core discussions were part of the

early stage negotiation process of considering various ideas for settlement structure and possible

methods of compensation.      As I recall it, "core" claims were claims by participants in the

seafood or tourism industries while "non-core" claims were those by participants in industries

that had some more general link to, but were still tied into or related in some manner to, the Gulf

Coast seafood or tourism industries. But the "core" versus "non-core" concept has nothing to do

with what the parties eventually agreed upon in Exhibit 4C.

       23.     Contrary to what is suggested in Mr. Rice 's declaration (Declaration of Joseph F.

Rice ,]22, Rec. Doc. 11804-4), I did not propose that "construction companies and professionals,

including attorneys" would be included in any settlement. At that time, and during those early

stages of the negotiations, it was Mr. Rice who brought up the issue of claimants of various

types, including these. We stated in response that such claimants, if any, would fall into the

"non-core" category, and that settlement exclusions (that is, entities or c laim or business types

that were not part of the class or which would be excluded from the class) would be negotiated

over time. In other words, the fact that " non-core" claims were discussed does not suggest or

demonstrate that BP proposed to pay claims for professional services and construction. Instead,

we discussed the need to develop a list of the types of claims that would be excluded. The first

time 1 can recall that professional services firms (specifically a dentist working on the Gulf Coast

who catered in large measure to tourists) were raised by the PSC was in our negotiation session

of August 17, 201 I.




                                                11
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 13 of 15




        24.    In fact, each and every example of claimants and claims presented to us by Mr.

Rice, including claims for professionals, farms, and others, was based upon a specific fact pattern

that Mr. Rice outlined in support of a claim having a tight and direct nexus with demonstrable

lost profits caused by the oil spill. There was never a discussion of any example of a business

claimant (farm, professional, contractor, or otherwise) by Mr. Rice or any other member of the

PSC in my presence that would be included in the class regardless of whether it had any losses

caused by the oil spill. The professional service example that Mr. Rice used, which he provided

during a meeting on August 17, involved a dentist whose business was located just off the beach

in Port St. Joe, and whose business from tourists had declined during the summer of 2010 due to

the oil spi ll. The only lawyer example ever presented by Mr. Rice was a lawyer in what became

Zone A, who catered to the beach and tourist trade, and who lost business as a result of fewer

tourists due to the oil spi ll. When I asked Mr. Rice about the nature of the legal business lost, he

responded that it was handling DUis, misdemeanors, and simi lar cases involving tourists and

businesses dealing with tourists. Unlike these professional examples, Mr. Rice never provided or

gave to me or anyone else from BP as far as I am aware the example of a law finn in Baton

Rouge, or stated that any other professional services firms would be a class member and hence

eligible to make a claim simply if the business could make its numbers work on a cash

differential basis. As to construction firms, Mr. Rice pointed out that the GCCF had paid certain

construction firms or contractors that had demonstrated losses due to the spill, such as those with

a project near the Gulf shoreline that experienced some reduced business due to the spill. But to

my knowledge he never raised and we never discussed a road paver in Northern Alabama being

compensated, or any claims similar to that, which had nothing to do with the oi l spill.




                                                 12
    Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 14 of 15




         25.       Mr. Rice asserts that the parties bad "extensive knowledge" of the various

businesses in Zones A, B, C, and D. (Declaration of Joseph F. Rice~ 23, Rec. Doc. 11804-4.)

As I said above, we did not agree in the summer of 2011 to the scope of the class definition; it

was an iterative process, whereby we wanted exclusions of various claimant types, some of

which the PSC ultimately agreed to and others of which it did not. Thus, BP did not succeed in

excluding every type of claim it advocated for excluding from the Class; and Mr. Rice and hi s

colleagues did not get every type of claim that they advocated should be included within the

Class definition. Instead, the parties settled on a definition that included only those "Natural

Persons or Entities" that suffered a "[l]oss of income, earnings or profits suffered ... as a result

ofthe DEEPWATER HORIZON INCIDENT." (Settlement Agreement§ 1.3.L2l In fact, the

parties' negotiations regarding the boundaries of the Economic Loss Zones were focused on Gulf

Coast related tourism and seafood-related businesses, including driving routes to Gulf beach

areas. At no time in my presence, did Mr. Rice or anyone else from the PSC say or suggest that

a farmer in what became ZoneD, for example, would be able to make a claim and recover under

the settlement based solely upon differences in cash receipts and expenditures, or make a claim

that had nothing to do with lost profits caused by the oil spi ll. The only farm example that I

recall Mr. Rice using involved a peanut farmer who catered to the tourist trade by selling peanuts

from a roadside stand on a main tourist road to the Gulf Coast, and who allegedly lost profits

during the summer of 2010 due to the decline in tomism caused by the oil spill.

         26.      Similarly, Mr. Rice includes another supposed quotation from BP's Mr. Neath in

"August 20 11" regarding businesses inc! uded in the proposed class. (Declaration of Joseph F.


4
  ln addition, the parties agreed to exclude certain businesses and claim types from the class definition. (See
Settlement Agreement§§ 2 and 3 (excluding certain industries such as gaming and financial institutions, and certain
claims, such as moratoria losses, as all defined in the Agreement).)

                                                        13
  Case 2:10-md-02179-CJB-DPC Document 11836-1 Filed 11/12/13 Page 15 of 15




Rice ~ 25, Rec. Doc. 11804-4.) Of course, at that rime we had not agreed upon and were only

starting to negotiate the contow·s of the class definition. Moreover, I do not recall Mr. Neath

saying those words. What I do recall is Mr. Neath acknowledging, in response to various PSC

statements, that the GCCF was paying out monies to various people and businesses that they

could not likely recover in litigation. From my perspective, BP and the GCCF frequently had

differences of opinion as to the resolution of particular claims, which is one reason why BP

negotiated for various terms in what eventually became Exhibits 4A, 4B, 4C, 4D, and elsewhere

in the final Settlement Agreement.

       27.     Dw·ing the negotiations, the PSC advocated for as broad a geographic class

definition as possible, while BP (Mr. Neath, myself, and others for BP) negotiated for a narrower

and more precise geographic scope for the class defmition. In the end, the PSC did not get as

broad a geographic class definition scope as it originally wanted; and BP likewise did not get as

narrow a geographic class definition scope as it attempted to achieve. When fmally agreed upon,

the geographic scope of the class defmition was limited to parts of two states and the entirety of

three states, as half or more of the State of Florida and nearly all of Texas were excluded from

the geographic scope ofthe class definition. (See Settlement Agreement§§ 1.1 , 1.2.)



                                                    ~v-Lil (__. Jl J!\
                                                    Richard C. Godfrey                 0
Dated: November 12, 2013




                                               14
